        Case 1:24-cv-03188-RC         Document 29        Filed 02/19/25     Page 1 of 2




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Attorneys for Amicus Curiae
Community Oncology Alliance, Inc.

                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA


 JOHNSON & JOHNSON HEALTH CARE
 SYSTEMS INC.,

                       Plaintiff,

        v.                                              Case No. 1:24-cv-3188

 DOROTHY FINK, in her official capacity, and U.S.
 DEPARTMENT OF HEALTH AND HUMAN                         SUPPLEMENTAL NOTICE
 SERVICES,                                              REGARDING GOVERNMENT’S
                                                        POSITION ON AMICUS CURIAE
 and                                                    COMMUNITY ONCOLOGY
                                                        ALLIANCE, INC.’S MOTION FOR
 DIANA ESPINOSA, in her official capacity, and          LEAVE TO FILE AMICUS BRIEF
 HEALTH RESOURCES AND SERVICES
 ADMINISTRATION,

                       Defendants.


       Amicus Community Oncology Alliance, Inc. (“COA”) respectfully submits this

supplemental notice regarding its Motion for Leave to File Brief as Amicus Curiae, ECF No. 28.

COA noted in its motion that it had reached out to counsel for Defendants regarding its position

on the motion (consistent with Local Civil Rule 7(o)(2)), but was unable to confer with Defendants

as of the time of filing. COA has now conferred with counsel for the Government, who takes no

position on COA’s motion for leave to file an amicus brief.
       Case 1:24-cv-03188-RC   Document 29    Filed 02/19/25     Page 2 of 2




Dated: February 19, 2025           Respectfully submitted,

                                   FRIER LEVITT, LLC
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